Case 2:13-cv-12937-LJM-RSW ECF No. 101 filed 07/11/18        PageID.3536   Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN




  LEAR CORPORATION,
                                              Case No. 2:13-cv-12937-LJM-RSW
               Plaintiff,
  v.
                                            JURY TRIAL DEMANDED
  NHK SEATING OF AMERICA,
  INC.


               Defendants.




                 UNOPPOSED MOTION FOR LEAVE TO
                       FILE UNDER SEAL

        Plaintiff Lear Corporation (“Lear”) respectfully submits this unopposed

 Motion for Leave to File Under Seal contents of Exhibits 52, 53, and 54 submitted

 in connection with Lear Corporation’s Reply In Support Of Motion To Consolidate

 Cases And Join Defendants NHK International Corporation And NHK Spring Co.

 Ltd.

        The authority for sealing such documents is pursuant to Local Rule 5.3, and

 the Stipulated Protective Order (Dkt. #27) entered in the present case.
Case 2:13-cv-12937-LJM-RSW ECF No. 101 filed 07/11/18       PageID.3537    Page 2 of 4




       Lear references information from documents produced by NHK Seating of

 America, Inc. (“NHK”) during discovery, which pursuant to the Protective Order,

 have been designated as “Highly Confidential – Attorney’s Eyes Only.” Lear

 believes this information designated as confidential is necessary to support Lear’s

 Reply in Support of Consolidation.       Therefore, Lear requests the following

 documents to be filed under seal:

                          Reply In Support Of Consolidation

               Document                                Contents
     Exhibit 52                       Excerpts of Deposition Transcript of NHK
                                      Seating Finance Manager Steven Thomas

                                      NHK designated the document “Highly
                                      Confidential – Attorney’s Eyes Only”
     Exhibit 53                       2012 NHK Seating Financial Statement
                                      (NSA_3943)

                                      NHK designated the document “Highly
                                      Confidential – Attorney’s Eyes Only”
     Exhibit 54                       2013 NHK Seating Financial Statement
                                      (NSA_2562)

                                      NHK designated the document “Highly
                                      Confidential – Attorney’s Eyes Only”

       Lear is not asking the Court to seal any portion of Lear’s Reply in Support of

 Consolidation. Instead, Lear is requesting the Court to seal the above-identified

 exhibits because NHK has designated the documents as containing or referring to

 “trade secrets or other confidential research, development, business or financial

                                          2
Case 2:13-cv-12937-LJM-RSW ECF No. 101 filed 07/11/18       PageID.3538    Page 3 of 4




 information, or other confidential commercial information, and that, if disclosed to

 a business competitor, would tend to damage the party’s competitive position.”

 (Protective Order, Dkt. #27 at 1.)

       Pursuant to Local Rule 7.1(a), Lear has conferred with counsel for NHK,

 and NHK does not oppose the present motion. A proposed stipulated order

 consistent with the relief requested in this motion is also being submitted for

 approval.

                                       Respectfully submitted,

                                       BROOKS KUSHMAN P.C.
 Dated: July 11, 2018
                                         /s/ Todd W. Dishman
                                       Frank A. Angileri (P45611)
                                       John M. Halan (P37616)
                                       Todd W. Dishman (P77652)
                                       1000 Town Center, Twenty-Second Floor
                                       Southfield, Michigan 48075
                                       Tel: (248) 358-4400 / Fax: (248) 358-3351
                                       Email: fangileri@brookskushman.com
                                              jhalan@brookskushman.com
                                              tdishman@brookskushman.com

                                       Attorneys for Plaintiff Lear Corporation




                                          3
Case 2:13-cv-12937-LJM-RSW ECF No. 101 filed 07/11/18        PageID.3539    Page 4 of 4




                 CERTIFICATE OF ELECTRONIC SERVICE

        I hereby certify that on July 11, 2018, I electronically filed the foregoing
 UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL with the
 Clerk of the Court for the Eastern District of Michigan using the ECF System. I
 submitted copies of all sealed documents via electronic means to the registered
 participants of the ECF System as listed on the Court's Notice of Electronic Filing:

        I further certify that I have mailed by United States Postal Service the paper
 to the following non-participants in the ECF System: None.

                                 Respectfully submitted,

                                 BROOKS KUSHMAN P.C.

                                   /s/ Todd W. Dishman
                                 Frank A. Angileri (P45611)
                                 John M. Halan (P37616)
                                 Todd W. Dishman (P77652)
                                 1000 Town Center, Twenty-Second Floor
                                 Southfield, Michigan 48075
                                 Tel: (248) 358-4400 / Fax: (248) 358-3351
                                 Email: fangileri@brookskushman.com
                                         jhalan@brookskushman.com
                                         tdishman@brookskushman.com

                                 Attorneys for Plaintiff Lear Corporation
